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     Attorney for Defendant
7    JOHNNY TORRES
8

9                                 UNITED STATES DISTRICT COURT

10                        FOR THE EASTERN DISTRICT OF CALIFORNIA

11

12                                                    )
     UNITED STATES OF AMERICA,                        )   CASE NO. 2:14-CR-0097-MCE
13                                                    )
                                                      )   STIPULATION AND [PROPOSED]
                            Plaintiff,                )
14                                                        ORDER RE: MODIFICATION OF
                                                      )   CONDITIONS OF RELEASE FOR
             vs.                                      )
15
                                                      )   JOHNNY TORRES
     JOHNNY TORRES, et al.,                           )
16
                                                      )
17                         Defendants.                )
                                                      )
18                                                    )

19           The United States of America, through Assistant U.S. Attorney Christiaan
20   Highsmith, and defendant Johnny Torres, through counsel Scott L. Tedmon, hereby
21   stipulate as follows:
22           1.    On April 25, 2014, defendant Johnny Torres was ordered released by
23                 Magistrate Judge Kendall J. Newman on an unsecured bond in the
24                 amount of $50,000, co-signed by defendant’s father, John Torres. Mr.
25                 Torres was released to the third-party custody of his mother, Julia Torres.
26                 In addition, the Court imposed a condition to include home confinement
27                 with electronic monitoring.
28           2. On June 30, 2014, defendant Johnny Torres’s release conditions were




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1                amended by Magistrate Judge Allison Claire related to the co-signator on
2                the $50,000 unsecured bond as well as the third-party custodian.
3                Specifically, Christina Madrid was ordered to be the co-signor on the
4                bond and Ms. Madrid was ordered to be the third-party custodian of
5                defendant. All other terms and conditions remained in full force and
6                effect.
7            3. Due to a change in circumstances related to defendant Johnny Torres’
8                living situation, the parties stipulate and request this Court order that the
9                co-signator on the $50,000 unsecured bond be changed to Moises Juarez.
10               Additionally, the parties stipulate and request this Court order that the
11               third-party custodian of defendant be Moises Juarez. Finally, the parties
12               stipulate and request this Court order the previously-imposed home
13               confinement with electronic monitoring be removed as a condition of
14               defendant Johnny Torres’ release conditions. U.S. Pretrial Services
15               Officer Renee Basurto requests these changes as well and has provided a
16               Second Amended Special Conditions of Release to counsel, which is
17               attached hereto for the Court’s review and consideration.
18           4. Based on the foregoing, Pretrial Services Officer Renee Basurto, Assistant
19               United States Attorney Christiaan Highsmith on behalf of the
20               government, and Scott L. Tedmon on behalf of defendant Johnny Torres
21               jointly agree and stipulate to this request for modification of the
22               conditions of pretrial release for defendant Johnny Torres. Further, all
23               parties confirm they have reviewed the attached Second Amended Special
24               Conditions of Release and agree to all 13 conditions contained therein.
25   IT IS SO STIPULATED.
26   August 6, 2014                              BENJAMIN B. WAGNER
                                                 United States Attorney
27

28
                                                 /s/ Christiaan Highsmith
                                                 Assistant United States Attorney



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1    DATED: August 6, 2014                        LAW OFFICES OF SCOTT L. TEDMON
2
                                                  /s/ Scott L. Tedmon
3                                                 SCOTT L. TEDMON
                                                  Attorney for Johnny Torres
4

5

6                                             ORDER

7             GOOD CAUSE APPEARING and based on the above stipulation, IT IS
8
     HEREBY ORDERED that:
9
              1. The request for modification of the Special Conditions of Release for
10
                   defendant Johnny Torres is GRANTED.
11

12            2. The attached Second Amended Special Conditions of Release are adopted

13                 by this Court and are ordered filed. The Second Amended Special
14
                   Conditions of Release supersede all previous conditions of release for
15
                   defendant Johnny Torres and are effective immediately.
16
              3. A copy of this Order, along with the Second Amended Special Conditions
17

18                 of Release is to be provided to defendant Johnny Torres. Pretrial Services

19                 Officer Renee Basurto shall personally review this Order and Second
20
                   Amended Special Conditions of Release with defendant Johnny Torres,
21
                   and then secure Mr. Torres’ signature confirming Mr. Torres understands
22
                   each condition, accepts each condition, and agrees to abide by each
23

24                 condition.

25   IT IS SO ORDERED.
26
     Dated: August 6, 2014
27

28
     Dad1.crim
     Torres0097.stipo.modify.cor.docx



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1               SECOND AMENDED SPECIAL CONDITIONS OF RELEASE
2

3
                                                                  Re: Torres, Johnny
4                                                                 No.: 2:14-CR-0097 MCE
                                                                  Date: August 3, 2014
5

6
         1. You are released to the third-party custody of Moises Juarez;
7
         2. You are to reside at a location approved by the pretrial services officer and not move
8           or absent yourself from this residence for more than 24 hours without the prior
            approval of the pretrial services officer;
9
         3. You shall report and comply with the rules and regulations of the Pretrial Services
10          Agency;

11       4. You shall cooperate in the collection of a DNA sample;
         5. Your travel is restricted to the Eastern District of California unless otherwise
12
            approved in advance by the pretrial services officer;
13       6. You shall not obtain a passport or other travel documents during the pendency of
14
            this case;
         7. You shall not possess a firearm/ammunition, destructive device, or other dangerous
15
            weapon; additionally, you shall provide written proof of divestment of all
16          firearms/ammunition currently under your control;
         8. You shall seek and/or maintain employment and provide proof of same as requested
17
            by your pretrial services officer;
18       9. You shall refrain from any use of alcohol or any use of a narcotic drug or other
19
            controlled substance without a prescription by a licensed medical practitioner; and
            you shall notify Pretrial Services immediately of any prescribed medication(s).
20          However, medicinal marijuana, prescribed or not, may not be used;
21       10. You shall submit to drug and/or alcohol testing as approved by the pretrial services
             officer. You shall pay all or part of the costs of the testing services based upon your
22           ability to pay, as determined by the pretrial services officer;
23       11. You shall participate in a program of medical or psychiatric treatment, including
             treatment for drug or alcohol dependency, as approved by the pretrial services
24           officer. You shall pay all or part of the costs of the counseling services based upon
25
             your ability to pay, as determined by the pretrial services officer;
         12. You shall not associate or have any contact with co-defendants unless in the
26
             presence of counsel or otherwise approved in advance by the pretrial services
27           officer;

28
         13. You shall report any contact with law enforcement to your pretrial services officer
             within 24 hours.



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